AO 106 (Rev GARE Simos OAS TAG Document 1 Filed 11/08/19 PagelID.1 Page 1 of 10

alran

PILED

UNITED STATES DISTRICT COUR

 

 

 

for the
Southern District of California

NOV 08 2019

 

 

 

  
 

In the Matter of the Search of

_ (Briefly describe the property to be searched
or identify the person by name and address)

Motorola, Model No. XT1921-3, IMEI ID:
351841093107748, more particularly described in
Attachment A-4

APPLICATION FOR A SEARCH WARRANT

Case No. a

J4975

See ace! ie! i” i” Se”

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

SEE ATTACHMENT A-4

 

. located in the Southern District of California , there is now concealed (identify the
person or describe the property to be seized): ,

SEE ATTACHMENT B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
of evidence of a crime;
contraband, fruits of crime, or other items illegally possessed;
O property designed for use, intended for use, or used in committing a crime;
0 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. §§ 952, 960, 963, Importation of Contrclied Substances; Conspiracy to Import Controlled
841, 846, 843(b) Substances

The application is based on these facts:

SEE AFFIDAVIT

m Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: } is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached

 

ae

Applicant s signature

HSI Special Agent Gary Roy

CLERK US DISIRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

DEPUTY

 

Printed name and title

Sworn to before me and signed in my presence.

Date: i it | t AY Loy Assoc A

Judge 's signature

 

City and state: San Diego, CA Honcrable Allison Goddard, U.S. Magistrate Judge

Printed name and title

 

 

 

 
Case 3:19-mj-04975-AHG Document1 Filed 11/08/19 PagelD.2 Page 2 of 10

ATTACHMENT A-4
PROPERTY TO BE SEARCHED

The following property is to be searched:

Motorola
Model No. XT1921-3
IMEI ID: 351841093107748

(Target Device 4)

The Target Devices are currently in the vault located at 2225 Niels Bohr Ct, in San
Diego, California.

 
Case 3:19-mj-04975-AHG Document1 Filed 11/08/19 PagelD.3 Page 3 of 10

ATTACHMENT B

ITEMS TO BE SEIZED

Authorization to search the cellular telephones described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular telephones for evidence
described below. The seizure and search of the cellular telephones shall follow the
search methodology described in the affidavit submitted in support of the warrant.

The evidence to be seized from the cellular telephones will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period of 90 DAYS:

a,

tending to indicate efforts to import methamphetamine, or some other
federally controlled substance, from Mexico into the United States;

tending to identify accounts, facilities, storage devices, and/or services—
such as email addresses, IP addresses, and phone numbers—used to
facilitate the importation of methamphetamine, or some other federally
controlled substance, from Mexico into the United States;

tending to identify co-conspirators, criminal associates, or others involved
in importation of methamphetamine, or some other federally controlled
substance, from Mexico into the United States;

tending to identify travel to or presence at locations involved in the
importation of methamphetamine, or some other federally controlled

substance, from Mexico into the United States, such as stash houses, load
houses, or delivery points;

tending to identify the user of, or persons with control over or access to,
the Target Device; and/or

tending to place in context, identify the creator or recipient of, or establish
the time of creation or receipt of communications, records, or data involved
in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952, 960,
963, 841, 846, and 843(b).

 
Oo Oo SJ DB WA SP WwW NP KF

MN NY NH KY KY BP BP RD Re Re RE PO SPO PO SO eS ll
CoO “= DN UA BB WwW NY KF ODO ODO moO HD DH NH SF WY NY KF &

 

 

Case 3:19-mj-04975-AHG Document1 Filed 11/08/19 PagelD.4 Page 4 of 10

AFFIDAVIT
I, Special Agent Gary Roy, being duly sworn, hereby state as follows:
INTRODUCTION
l. I submit this affidavit in support of an application for a warrant to search the

following electronic devices:
Apple iPhone
Model No. A1586
IMEI ID: 355403076564548
(Target Device 1)

Apple iPhone
IMEI ID: 356429109245259

(Target Device 2)

Apple iPhone
IMEI ID: 357263097893 195
(Target Device 3)

Motorola

Model No. XT1921-3

IMEI ID: 351841093107748

(Target Device 4)
(hereinafter Target Devices) as further described in Attachment A, and to seize evidence
of crimes, specifically violations of Title 21, United States Code, Section(s) 952, 960, 963,
841, 846, and 843(b), as further described in Attachment B.

2. The requested warrant relates to the investigation and prosecution of Pedro

RUIZ-Mejia (“Defendant”) for importing approximately 10.90 kilograms of cocaine from
Mexico into the United States. See U.S. v. Ruiz-Mejia, Case No. 19CR4116-BAS (S.D.

 

 
Oo co ~]) A A BSB WH WV

hme bt Bw NM BO Bw WR RR mR ee
ey SRRRP BRB S CwovracgaRPonves

 

 

Case 3:19-mj-04975-AHG Document1 Filed 11/08/19 PagelD.5 Page 5 of 10

Cal.) at ECF No. 1 (Complaint). The Target Devices are currently in the evidence vault
located at 2225 Niels Bohr Ct, in San Diego, California.

3. The information contained in this affidavit is based upon my training,
experience, investigation, and consultation with other members of law enforcement.
Because this affidavit is made for the limited purpose of obtaining a search warrant for the
Target Devices, it does not contain all the information known by me or other agents
regarding this investigation. All dates and times described are approximate.

BACKGROUND

4. I have been employed as a Special Agent with Homeland Security
Investigations (ICE-HSI) since February 2018. I am currently assigned to the Deputy
Special Agent in Charge, San Ysidro Office, Contraband Smuggling Group 1. I am a
graduate of the Federal Law Enforcement Training Center in Glynco, Georgia.

5. During my tenure with HSI, I have participated in the investigation of various
drug trafficking organizations involved in the importation and distribution of controlled
substances into and through the Southern District of California.

6. Through my training, experience, and conversations with other members of
law enforcement, I have gained a working knowledge of the operational habits of narcotics
traffickers, in particular those who attempt to import narcotics into the United States from
Mexico at Ports of Entry. | am aware that it is common practice for narcotics smugglers to
work in concert with other individuals and to do so by utilizing cellular telephones. Because
they are mobile, the use of cellular telephones permits narcotics traffickers to easily carry
out various tasks related to their trafficking activities, including, e.g., remotely monitoring
the progress of their contraband while it is in transit, providing instructions to drug couriers,
warning accomplices about law enforcement activity, and communicating with co-
conspirators who are transporting narcotics and/or proceeds from narcotics sales.
| 7. Based upon my training, experience, and consultations with law enforcement
officers experienced in narcotics trafficking investigations, and all the facts and opinions

set forth in this affidavit, I know that cellular telephones (including their Subscriber

 

 
oOo fF SS HD Ww BP WY YR

mw N NV NY NN KY VY Re Be Re BSP SE Se re Ell
0 ~] OA tra BP WD NY YK OC OBO OH DH OH BPW NH KF OS

 

 

Case 3:19-mj-04975-AHG Document1 Filed 11/08/19 PagelD.6 Page 6 of 10

Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
for example, phone logs and contacts, voice and text communications, and data, such as
emails, text messages, chats and chat logs from various third-party applications,
photographs, audio files, videos, and location data. In particular, in my experience and
consultation with law enforcement officers experienced in narcotics trafficking
investigations, I am aware that individuals engaged in drug trafficking commonly store
photos and videos on their ce/l phones that reflect or show co-conspirators and associates
engaged in drug trafficking, as well as images and videos of drugs or contraband, proceeds
and assets from drug trafficking, and communications to and from recruiters and
organizers.

8. This information can be stored within disks, memory cards, deleted data,
remnant data, slack space, and temporary or permanent files contained on or in the cellular
telephone. Specifically, searches of cellular telephones may yield evidence:

a. tending to indicate efforts to import methamphetamine, or some other
federally controlled substance, from Mexico into the United States;

b. tending to identify accounts, facilities, storage devices, and/or services—
such as email addresses, IP addresses, and phone numbers—used to
facilitate the importation of methamphetamine, or some other federally
controlled substance, from Mexico into the United States;

c. tending to identify co-conspirators, criminal associates, or others involved
in importation of methamphetamine, or some other federally controlled
substance, from Mexico into the United States;

d. _ tending to identify travel to or presence at locations involved in the
importation of methamphetamine, or some other federally controlled
substance, from Mexico into the United States, such as stash houses, load
houses, or delivery points;

e. tending to identify the user of, or persons with control over or access to,
the Target Devices; and/or

 

 

:
I
:
:
i
i

 

 

 
Oo HF ~s WH Ww Se WH BP

hM MP bw BY BD BR WR RD Re ee sr Rt
oOo ~ KO UH BP WY HB KH CO CO wre HDR NH OR DY NY OS

 

 

Case 3:19-mj-04975-AHG Document1 Filed 11/08/19 PagelD.7 Page 7 of 10

f. tending to place in context, identify the creator or recipient of, or establish
the time of creation or receipt of communications, records, or data involved
in the activities described above.

FACTS SUPPORTING PROBABLE CAUSE

1, On September 17, 2019, at approximately 1:05 p.m., defendant Pedro RUIZ-
Mejia (“Defendant”) applied for permission to enter the United States at the San Ysidro
Port of Entry. Defendant was the driver and sole occupant of a white 2013 Hino tow truck.
Defendant was referred for secondary inspection, and Customs and Border Protection
Officers discovered packages concealed within the light bar of the vehicle which tested
positive for cocaine'. Agents released the vehicle from secondary inspection and began
following the vehicle and maintaining visual surveillance. The agents observed Defendant
engage in suspicious driving behavior that was indicative of conducting counter
surveillance. For example, agents observed Defendant stop his vehicle on more than one
occasion in the median of the road and wait for a brief period of time giving him a view of
any following vehicles, they observed the defendant enter a dead end street and park on the
side of the road providing a view of following vehicles, they observed Defendant making
phone calls and looking all around his vehicle at other motorist during these unexplained
stops. During the surveillance, Defendant pulled into a gas station and hooked another
vehicle up for towing. During this time, the law enforcement surveillance vehicle was
unintentionally in close proximity to Defendant’s vehicle and may have been observed.
After Defendant delivered the towed vehicle to its destination and dropped the vehicle’s
owner off at the bus stop, Defendant again engaged in counter-surveillance behavior but
going down a dead-end street and stopping his vehicle on the side of the road and making
a phone call. After this, Defendant began driving back into Mexico and at approximately
5:00 p.m., the defendant was stopped at the outbound lane of the Otay Mesa Port of Entry

and taken into custody.

 

I HSI Special Agents placed a GPS tracker on the tow truck and began the
process of seeking a warrant allowing them to utilize the device, but never used the

tracking data in this case because the warrant was not signed in time.
4°

 

 

 

 
Oo CO ~s DB wm Bb WS WH

N Pw bP bP BP PY BO RO RR RB Oe SE PO
BH RS<eRRBEKRE Soe rN AAREOKH HS

 

 

Case 3:19-mj-04975-AHG Document1 Filed 11/08/19 PagelD.8 Page 8 of 10

2. Back at the San Ysidro Port of Entry, CBP Officer Richards conducted a
thorough inspection of the tow truck and discovered a total of five (5) packages concealed
in the light bar of the tow truck. Officer Richards removed all packages, weighing
approximately 10.90 kgs in total, and again field tested a random package to test the
contents. The package again field tested positive for the properties of cocaine. After the
drugs were discovered and removed from the Hino tow truck, the Defendant was placed
under arrest at approximately 5:00 PM on September 17, 2019.

3. In light of the above facts, and my own experience and training, there is
probable cause to believe that Defendant was using the Target Devices to communicate
with others to further the importation of illicit narcotics into the United States.

4. In my training and experience, narcotics traffickers may be involved in the
planning and coordination of a drug smuggling event in the days and weeks prior to an
event. Co-conspirators are also often unaware of a defendant’s arrest and will continue to
attempt to communicate with a defendant after their arrest to determine the whereabouts of
the narcotics. Based on my training and experience, it is also not unusual for individuals,
such as Defendant, to attempt to minimize the amount of time they were involved in their
smuggling activities, and for the individuals to be involved for weeks and months longer
than they claim. Accordingly, I request permission to search the Target Devices for data
beginning 90 DAYS prior to the Defendant’s arrest.

METHODOLOGY

5. It is not possible to determine, merely by knowing the cellular telephone’s
make, model and serial number, the nature and types of services to which the device is
subscribed and the nature of the data stored on the device. Cellular devices today can be
simple cellular telephones and text message devices, can include cameras, can serve as
personal digital assistants and have functions such as calendars and full address books and
can be mini-computers allowing for electronic mail services, web services and rudimentary
word processing. An increasing number of cellular service providers now allow for their

subscribers to access their device over the internet and remotely destroy all of the data

 

 

 

 
Co fH Ss DR OH BR WY Ne

NM NH WH WL VN NY NV NO HF HF HF =| §—|— RK RP YS ee
PNR RR BBP SF C32 r_aatrtwnneros

 

 

Case 3:19-mj-04975-AHG Document1 Filed 11/08/19 PagelD.9 Page 9 of 10

contained on the device. For that reason, the device may only be powered in a secure
environment or, if possible, started in “flight mode” which disables access to the network.
Unlike typical computers, many cellular telephones do not have hard drives or hard drive
equivalents and store information in volatile memory within the device or in memory cards
inserted into the device. Current technology provides some solutions for acquiring some of
the data stored in some cellular telephone models using forensic hardware and software.
Even if some of the stored information on the device may be acquired forensically, not all
of the data subject to seizure may be so acquired. For devices that are not subject to forensic
data acquisition or that have potentially relevant data stored that is not subject to such
acquisition, the examiner must inspect the device manually and record the process and the
results using digital photography. This process is time and labor intensive and may take
weeks or longer.

6. Following the issuance of this warrant, I will collect the subject cellular
telephones and subject them to analysis. All forensic analysis of the data contained within
the telephone and its memory cards will employ search protocols directed exclusively to
the identification and extraction of data within the scope of this warrant.

7. Based on the foregoing, identifying and extracting data subject to seizure
pursuant to this warrant may require a range of data analysis techniques, including manual
review, and, consequently, may take weeks or months. The personnel conducting the
identification and extraction of data will complete the analysis within 90 days, absent
further application to this court.

PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE

8. Law enforcement has not previously attempted to obtain the evidence sought
by this warrant.

CONCLUSION

9. Based on the facts and information set forth above, there is probable cause to
believe that a search of the Target Devices will yield evidence of Defendant’s violations of

Title 21, United States Code, Sections 952, 960, 963, 841, 846, and 843(b).

 

camper cet eae pan Pe Le pn oe coum ee et ea

 
Oo O Ss DH WF SB Ww HR

Nm Be HB BN WB DR BR ORD OBR OO eR
co ~~) OH UL OB OH NOS OO lU(OUllUlUmOULUUN UNO UUM OU CS

 

 

Case 3:19-mj-04975-AHG Document1 Filed 11/08/19 PagelD.10 Page 10 of 10

10. Because the Target Devices were seized at the time of Defendant’s arrest and
has been securely stored since that time, there is probable cause to believe that such
evidence continues to exist on the Target Devices. As stated above, I believe that the
appropriate date range for this search is from 90 DAYS.

11. Accordingly, I request that the Court issue a warrant authorizing law
enforcement to search the items described in Attachment A and seize the items listed in

Attachment B using the above-described methodology.

I swear the foregoing is true and correct to the best of my knowledge and belief.

 

Special Agent Gary Roy:
Homeland Security Investigations

Subscribed and sworn to before me this C 5 day of November, 2019.

_L doy Holdr-~oh
Hon. Allison'¥¥, Goddard
United States Magistrate Judge

 

 
